Case 8:15-cv-00865-DOC-SHK Document 819-1 Filed 03/29/21 Page 1 of 6 Page ID
                                #:36812




                     EXHIBIT 1
       Case 8:15-cv-00865-DOC-SHK Document 819-1 Filed 03/29/21 Page 2 of 6 Page ID
                                       #:36813



                   1   LATHAM & WATKINS LLP
                        Michele D. Johnson (Bar No. 198298)
                   2    michele.johnson@lw.com
                        Kristin N. Murphy (Bar No. 268285)
                   3    kristin.murphy@lw.com
                       650 Town Center Drive, 20th Floor
                   4   Costa Mesa, CA 92626-1925
                       Tel: (714) 540-1235
                   5   Fax: (714) 755-8290
                   6   LATHAM & WATKINS LLP
                        Colleen C. Smith (Bar No. 231216)
                   7    colleen.smith@lw.com
                       12670 High Bluff Drive
                   8   San Diego, CA 92130-3086
                       Tel: (858) 523-5400
                   9   Fax: (858) 523-5450
              10       LATHAM & WATKINS LLP
                        Andrew B. Clubok (pro hac vice)
              11        andrew.clubok@lw.com
                        Sarah A. Tomkowiak (pro hac vice)
              12        sarah.tomkowiak@lw.com
                       555 Eleventh Street NW, Suite 1000
              13       Washington, DC 20004-1304
                       Tel: (202) 637-2200
              14       Fax: (202) 637-2201
              15       Attorneys for Defendants Puma
                       Biotechnology, Inc. & Alan H. Auerbach
              16
              17                           UNITED STATES DISTRICT COURT
              18                         CENTRAL DISTRICT OF CALIFORNIA
              19                                   SOUTHERN DIVISION
              20
                       HSINGCHING HSU, Individually and         CASE NO. 8:15-cv-00865-DOC-SHK
              21       on Behalf of All Others Similarly
                       Situated,                                DEFENDANTS’ FIRST SET OF
              22                                                INTERROGATORIES TO
                                     Plaintiff,                 CLAIMANTS
              23
                            v.
              24
                       PUMA BIOTECHNOLOGY, INC.,
              25       and ALAN H. AUERBACH,
              26                     Defendants.
              27
              28
                                                                                        DEFS.’ FIRST SET OF
ATTORNEYS AT LAW
 ORANGE COUNTY
                                                                            POST-TRIAL INTERROGATORIES
                                                                           CASE NO. 8:15-CV-00865-DOC-SHK

                                                                                                   EXHIBIT 1
                                                                                                     Page 3
        Case 8:15-cv-00865-DOC-SHK Document 819-1 Filed 03/29/21 Page 3 of 6 Page ID
                                        #:36814



                   1 PROPOUNDING PARTY:            Defendants Puma Biotechnology, Inc. and Alan H.
                   2                               Auerbach
                   3 RESPONDING PARTY:             Claimants
                   4 SET NUMBER:                   One
                   5        Pursuant to Federal Rule of Civil Procedure 26 and 33, Defendants hereby
                   6 requests that, within sixty days of service, or such other time as the parties may
                   7 agree, [Claimaint Name] respond in writing under oath to the following
                   8 interrogatories:
                   9                                  DEFINITIONS
              10            1.    “Action” means the lawsuit, Hsu v. Puma Biotechnology, Inc., 8:15-cv-
              11 00865-DOC-SHK, pending in the United States District Court for the Central
              12 District of California.
              13            2.    “Communication” means the transmittal of information (in the form of
              14 facts, ideas, inquiries, or otherwise).
              15            3.    “Document” means all documents, electronically stored information,
              16 and tangible things in the broadest sense under Federal Rule of Civil Procedure 34,
              17 and means anything that can be read, viewed, heard, or otherwise understood.
              18 Subject to and in accordance with the Instructions below, “document” is not limited
              19 in any way with respect to medium, embodiment, or process of creation, generation,
              20 or reproduction; “document” includes, without limitation, all preliminary,
              21 intermediate, and final versions, as well as any notations, comments, and marginalia
              22 (handwritten or otherwise) appearing thereon or therein; “document” includes
              23 originals (or high quality duplicates), all non-identical copies or drafts, and all
              24 attachments, exhibits, or similar items. Any document bearing on any sheet or side
              25 thereof, any marks, including, without limitation, initials, notations, comments, or
              26 marginalia of any character which are not part of the original test or reproduction
              27 thereof, are considered a separate document.
              28
                                                                                          DEFS.’ FIRST SET OF
ATTORNEYS AT LAW
                                                                              POST-TRIAL INTERROGATORIES
 ORANGE COUNTY
                                                               1             CASE NO. 8:15-CV-00865-DOC-SHK

                                                                                                     EXHIBIT 1
                                                                                                       Page 4
        Case 8:15-cv-00865-DOC-SHK Document 819-1 Filed 03/29/21 Page 4 of 6 Page ID
                                        #:36815



                   1         4.    “Identify,” when used regarding a person, means to state the person’s
                   2 full name, present or last known place of employment, including the business
                   3 address and telephone number, and present or last known job title.
                   4         5.    “Person” means any natural person or any legal entity, including,
                   5 without limitation, any business or governmental entity or association.
                   6         6.    “Puma” or the “Company” means Defendant Puma Biotechnology,
                   7 Inc., including its predecessors, successors, parents, subsidiaries, affiliates,
                   8 divisions, directors, officers, principals, trustees, agents, representatives,
                   9 consultants, attorneys, or any other Person acting on his/her/its behalf.
              10             7.    “Securities” has the meaning set forth in the Securities Exchange Act
              11 of 1934, 15 U.S.C. §§ 78a et seq.
              12             8.    “Transactions” means any exchange of consideration for a change in
              13 ownership of Puma Securities from June 1, 2014 through August 13, 2015,
              14 including, but not limited to, purchasing, selling, shorting, or exercising options.
              15             9.    “You” or “Your” refers to [INSERT] and, without limitation, your
              16 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,
              17 officers, principals, trustees, agents, representatives, consultants, attorneys, or any
              18 other Person acting on their behalf.
              19             10.   “And” and “or” shall be construed either disjunctively or conjunctively,
              20 as necessary by the context, to bring within the scope of the definition, instruction,
              21 or request all responses that might otherwise be construed to be outside of its scope
              22 by any other construction.
              23             11.   The terms “all,” “any,” and “each” shall each be construed as
              24 encompassing any and all.
              25             12.   The use of the singular form of any word includes the plural form of
              26 the same and vice versa.
              27
              28
                                                                                             DEFS.’ FIRST SET OF
ATTORNEYS AT LAW
                                                                                 POST-TRIAL INTERROGATORIES
 ORANGE COUNTY
                                                                 2              CASE NO. 8:15-CV-00865-DOC-SHK

                                                                                                        EXHIBIT 1
                                                                                                          Page 5
        Case 8:15-cv-00865-DOC-SHK Document 819-1 Filed 03/29/21 Page 5 of 6 Page ID
                                        #:36816



                   1                                  INSTRUCTIONS
                   2        1.    Please answer the following interrogatories separately and fully.
                   3        2.    Please include in Your answer information which, while not within
                   4 Your own knowledge, is nonetheless within Your custody or control, or reasonably
                   5 available to You, or within any other source from which it may be reasonably
                   6 secured.
                   7        3.    If any part of the following interrogatories cannot be answered in full,
                   8 please answer to the extent possible, specifying the reason for Your inability to
                   9 answer the remainder.
              10            4.    If You object to any part or aspect of an interrogatory, please state with
              11 specificity the grounds for Your objection, and provide all information responsive
              12 to the portion, if any, to which You do not object, pursuant to Federal Rule of Civil
              13 Procedure 33(b).
              14            5.    If You contend that anything sought by these interrogatories is subject
              15 to any privilege, please state with particularity the nature of the privilege and all
              16 grounds therefore. Such information should be supplied in sufficient detail to permit
              17 the undersigned to assess the applicability of the privilege, protection, or other
              18 ground claimed, pursuant to Federal Rule of Civil Procedure 26(b)(5).
              19            6.    These interrogatories are subject to the duty to supplement as specified
              20 in Federal Rule of Civil Procedure 26(e), and You are obligated to change,
              21 supplement, and correct Your answers to conform to all available information,
              22 including information as it becomes available to You after You have served Your
              23 responses to these interrogatories.
              24                                   INTERROGATORIES
              25 INTERROGATORY NO. 1:
              26            For each of the Transactions, identify each Person(s), including (if applicable)
              27 You or any investment advisor, who made the decision(s) to engage in the
              28 Transactions.
                                                                                             DEFS.’ FIRST SET OF
ATTORNEYS AT LAW
                                                                                 POST-TRIAL INTERROGATORIES
 ORANGE COUNTY
                                                                3               CASE NO. 8:15-CV-00865-DOC-SHK

                                                                                                        EXHIBIT 1
                                                                                                          Page 6
        Case 8:15-cv-00865-DOC-SHK Document 819-1 Filed 03/29/21 Page 6 of 6 Page ID
                                        #:36817



                   1 INTERROGATORY NO. 2:
                   2         For each Person(s) identified in Your response to Interrogatory No. 1, describe
                   3 with particularity:    (i) what factors influenced the decision to engage in the
                   4 Transactions; (ii) what, if any, due diligence, investigation, analysis, or evaluation
                   5 of Puma or Puma securities was performed prior to engaging in the Transactions;
                   6 (iii) what, if any, documents regarding Puma or Puma Securities were considered
                   7 prior to engaging in the Transactions; (iv) the nature of all Communications
                   8 regarding Puma or Puma securities made prior to engaging in the Transactions.
                   9 INTERROGATORY NO. 3:
              10             State whether You contend that You (or, if another Person(s) made the
              11 decision(s), that Person(s)) relied on the integrity of the market price for Puma
              12 securities in deciding to engage in the Transactions.
              13 INTERROGATORY NO. 4:
              14             State with particularity the reasons for Your response to Interrogatory No. 3.
              15
                       Dated: [DATE]                             Respectfully submitted,
              16
              17                                                 LATHAM & WATKINS LLP

              18                                                 By [SAMPLE]
              19
                                                                      Michele D. Johnson
              20                                                      Andrew B. Clubok
              21                                                      Colleen C. Smith
                                                                      Sarah A. Tomkowiak
              22                                                      Kristin N. Murphy
              23
                                                                 Attorneys for Defendants Puma
              24                                                 Biotechnology, Inc. & Alan H. Auerbach
              25
              26
              27
              28
                                                                                             DEFS.’ FIRST SET OF
ATTORNEYS AT LAW
                                                                                 POST-TRIAL INTERROGATORIES
 ORANGE COUNTY
                                                                 4              CASE NO. 8:15-CV-00865-DOC-SHK

                                                                                                        EXHIBIT 1
                                                                                                          Page 7
